            Case 6:20-cv-01191-ADA Document 1 Filed 12/29/20 Page 1 of 6




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


 OHVA, Inc.,                                                     Case No. 6:20-cv-1191
           Plaintiff,                                            Patent Case
           v.                                                    Jury Trial Demanded
 AnywhereCommerce Inc.,

           Defendant.


                              COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff OHVA, Inc. (“Plaintiff”), through its attorneys, complains of

AnywhereCommerce Inc. (“Defendant”), and alleges the following:

                                                PARTIES

       1.         Plaintiff OHVA, Inc. is a corporation organized and existing under the laws of

California that maintains its principal place of business at 3 Hangar Way, Suite D, Watsonville,

CA 95076.

       2.         Defendant AnywhereCommerce Inc. is a corporation organized and existing

under the laws of Canada that maintains an established place of business at 376 Avenue Victoria

Bureau 418, Westmount, QC H3Z 2N4, Canada.

                                             JURISDICTION

       3.         This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

       4.         This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).




                                                   1
             Case 6:20-cv-01191-ADA Document 1 Filed 12/29/20 Page 2 of 6




        5.       This Court has personal jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District. As described below, Defendant has

committed acts of patent infringement giving rise to this action within this District.

                                                 VENUE

        6.       Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has

committed acts of patent infringement in this District, and has an established place of business in

this District.

                                            PATENT-IN-SUIT

        7.       Plaintiff is the assignee of all right, title and interest in United States Patent No.

9,679,286 (the “Patent-in-Suit”); including all rights to enforce and prosecute actions for

infringement and to collect damages for all relevant times against infringers of the Patent-in-Suit.

Accordingly, Plaintiff possesses the exclusive right and standing to prosecute the present action

for infringement of the Patent-in-Suit by Defendant.

                                           THE ’286 PATENT

         8.       The ’286 Patent is entitled “Methods and Apparatus for Enabling Secure

 Network-Based Transactions.,” and issued 06/13/2017. The application leading to the ’286

 Patent was filed on 03/03/2015. A true and correct copy of the ’286 Patent is attached hereto as

 Exhibit 1 and incorporated herein by reference.

         9.       The ’286 Patent is valid and enforceable.

                           COUNT 1: INFRINGEMENT OF THE ’286 PATENT

         10.      Plaintiff incorporates the above paragraphs herein by reference.

         11.      Direct Infringement. Defendant has been and continues to directly infringe

 one or more claims of the ’286 Patent in at least this District by making, using, offering to sell,




                                                    2
         Case 6:20-cv-01191-ADA Document 1 Filed 12/29/20 Page 3 of 6




selling and/or importing, without limitation, at least the Defendant products identified in the

charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

infringe at least the exemplary claims of the ’286 Patent also identified in the charts

incorporated into this Count below (the “Exemplary ’286 Patent Claims”) literally or by the

doctrine of equivalents. On information and belief, numerous other devices that infringe the

claims of the ’286 Patent have been made, used, sold, imported, and offered for sale by

Defendant and/or its customers.

       12.     Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ’286 Patent Claims, by having its employees internally

test and use these Exemplary Products.


       13.     Actual Knowledge of Infringement. In a prior lawsuit, the filing of the

complaint and corresponding claim chart on February 13, 2020 against Defendant’s subsidiary

imparted actual knowledge of its infringement upon Defendant. See OHVA, Inc. v.

AnywhereCommerce Services LLC, Case No. 1:20-cv-00214 (D. of Delaware).

       14.     Despite such actual knowledge, Defendant continues to make, use, test, sell,

offer for sale, market, and/or import into the United States, products that infringe the ’286

Patent. On information and belief, Defendant has also continued to sell the Exemplary

Defendant Products and distribute product literature and website materials inducing end users

and others to use its products in the customary and intended manner that infringes the ’286

Patent. See Exhibit 2 (described below).

       15.     Induced Infringement. Defendant therefore actively, knowingly, and

intentionally has been and continues to induce infringement of the ’286 Patent, literally or by




                                                3
           Case 6:20-cv-01191-ADA Document 1 Filed 12/29/20 Page 4 of 6




 the doctrine of equivalents, by selling Exemplary Defendant Products to their customers for

 use in end-user products in a manner that infringes one or more claims of the ’286 Patent.

         16.      Contributory Infringement. Defendant therefore actively, knowingly, and

 intentionally has been and continues materially contribute to their own customers infringement

 of the ’286 Patent, literally or by the doctrine of equivalents, by selling Exemplary Defendant

 Products to their customers for use in end-user products in a manner that infringes one or more

 claims of the ’286 Patent. The Exemplary Defendant Products are especially made or adapted

 for infringing the ’286 Patent and have no substantial non-infringing use. For example, in view

 of the preceding paragraphs, the Exemplary Defendant Products contain functionality which is

 material to at least one claim of the ’286 Patent.

         17.      Exhibit 2 includes charts comparing the Exemplary ’286 Patent Claims to the

 Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant

 Products practice the technology claimed by the ’286 Patent. Accordingly, the Exemplary

 Defendant Products incorporated in these charts satisfy all elements of the Exemplary ’286

 Patent Claims.

         18.      Plaintiff therefore incorporates by reference in its allegations herein the claim

 charts of Exhibit 2.

         19.      Plaintiff is entitled to recover damages adequate to compensate for Defendants

 infringement.

                                            JURY DEMAND

        20.      Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                         PRAYER FOR RELIEF




                                                     4
           Case 6:20-cv-01191-ADA Document 1 Filed 12/29/20 Page 5 of 6




WHEREFORE, Plaintiff respectfully requests the following relief:

      A.      A judgment that the ’286 Patent is valid and enforceable

      B.      A judgment that Defendant has infringed directly, contributorily, and/or induced

              infringement of one or more claims of the ’286 Patent;

      C.      An accounting of all damages not presented at trial;

      D.      A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

              for Defendants past infringement with respect to the ’286 Patent.

      E.      A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

              for Defendants continuing or future infringement, up until the date such judgment

              is entered with respect to the ’286 Patent, including pre- or post-judgment interest,

              costs, and disbursements as justified under 35 U.S.C. § 284;

      F.      And, if necessary, to adequately compensate Plaintiff for Defendants infringement,

              an accounting:

             i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                  and that Plaintiff be awarded its reasonable attorneys fees against Defendant

                  that it incurs in prosecuting this action;

            ii.   that Plaintiff be awarded costs, and expenses that it incurs in prosecuting this

                  action; and

           iii.   that Plaintiff be awarded such further relief at law or in equity as the Court

                  deems just and proper.




 Dated: December 29, 2020            Respectfully submitted,




                                                  5
Case 6:20-cv-01191-ADA Document 1 Filed 12/29/20 Page 6 of 6




                   /s/ Isaac Rabicoff
                   Isaac Rabicoff
                   Rabicoff Law LLC
                   5680 King Centre Dr, Suite 645
                   Alexandria, VA 22315
                   (773) 669-4590
                   isaac@rabilaw.com

                   Counsel for Plaintiff
                   OHVA, Inc.




                              6
